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   UNITED STATES DISTRTCT COURT
   EASTERN DISTRICT OF NEW YORK
                                                 --------------x
   CHARLES EDV/ARD ELLIS SR.,

                                            Plaintiff,
                                                                    CIV INDEX NO
                   -against



                                                                    COMPLAINT
  UNITED STATES OF AMERICA , RAOUF HANNA,
  M.D., and JANE DOE, a fictitious name for an unidentified
  Female Nurse who cared for Plaintiff on September 5, 2013 through
  September 6,2013 at The Veterans Administration
  Hospital in Brooklyn New York,

                                    Defendants

                                                            ---x

          Plaintiff, CHARLES EDWARD ELLIS, SR. ("ELLIS"), by his attorneys, the

  Law Office of Tumelty & Spier, LLP, as and for their complaint against the Defendants,

  LINITED STATES OF AMERICA, ("Defendant" and/ or "Defendant U.S.A."), RAOUF

  HANNA, M.D. ( "DR. HANNA"); and JANE DOE, a fictitious name for an unidentified

  Female Nurse who cared for Plaintiff on September 5, 2013 through September           6,2073

  at The Veterans Administration Hospital in Brooklyn, New York ("NURSE             DOE" and/

  or "JANE DOE") allege the following, upon information and belief:

         PREMABLE

                  1.        This is an action brought by Plaintiff pursuant to the Federal Tort

  Claims Act28 U.S.C.   S   2671, et seq.) and28 U.S.C S 1346 (b) (1), for negligence and

  professional malpractice in connection with medical and hospital care provided to Plaintiff

  ELLIS by Defendant though its agent, the Departrnent of Veterans Affairs, at the Brooklyn

  Campus of the   VA New York Harbor Healthcare          System, New York, and its employees
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   Defendant DR. HANNA and Defendant NURSE DOE. Supplemenøl jurisdiction under 28

   U.S.C. 1367 (a) is invoked regarding related medical practice claims against the Individual

   Defendants.

                  2.       The claims are brought against Defendants pursuânt to the Federal

  Tort Claims Act for money damages       as   compensation for personal injuries caused by the

   Defendant's negligence.

           JURISDICTION AND YENUE
                  3.       Jurisdiction of this Court is invoked pursuânt to the provisions        of

  Sections 1346 (b) (1)   of Title 28, United   States Code and pursuant    to the Federal Tort

  Claims Act (F[C,A,).

                  4,       Venue is properly placed in the Eastern District of New York

  pursuant to 28 U.S.C. S 1402    þ)   because   it is where the claimed acts and omissions

  occurred and where the Plaintiff resided and where the Defendant is subject to personal

  jurisdiction.

                  5.       Plaintiff ELLIS has fully complied with the provisions of 28 U.S.C.              $


  2675 of the Federal Tort Claims Act, Standard Form 95, sans medical record attachments,

  attached as Exhibit '(1" and is incorporated herein as     if fully set forth

                  6.       This suit has been timely filed, in that Plaintiff ELLIS timely served

  notice of his claim on the United States Department of Veterans Affairs less than two years

  after the incidents forming the basis of this suit.

                  7.       Plaintiff ELLIS is now filing this Complaint pursuant to 28 U.S.C.           $


  2401 (b) after receiving the Depattment of Veterans Affairs August 18,2075 notice           of   final

  denial of administrative claim. Administrative Tort Claim Denial Letter attached as      Exhibit
  ..2tt.




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           THE PARTIES

                    8.      At all relevant times herein mentioned, plaintiff CHARLES EDWARD

   ELLIS sR. was and is a resident       of Kings     counry, city and State of New York.

                    9. At all times mentioned herein, the defendant UNITED STATES OF

   AMERICA thtough its agency, the Department of Veterans Affafus operated, maintained

   and controlled various hospitals throughout the United States , including the Veterans

   Administration Hospital located at 800 Poly Place Brooklyn, New York ( hereafter "THE

   vA HOSPITAL',).

                    10. At all relevant times mentioned herein, defendant UNITED STATES

   OF AMERICA hired physicians, nurses, and staff at THE VA HOSPITAL to care and

   treat for patients thereat.

                    11. ,tt all relevant         times   THE VA HOSPITAL held itself out to the

  Plaintiff and etigible beneficiaries    as a   provider of high quality health care services, wirh rhe

  expertise necessaly to maintain the health and safety of patients like the Plaintiff.

                   12.         At all relevant times mentioned herein, the directors, officcrs,

  oPerâtors, administrators, agents and staff were employed by and           / or acnng on behalf of
  the Defendant. Furtherrnore, the Defendant is responsible for the negligent acts of its

  employees and agents under respondeat superior.

                   13.         That Defendant DR HANNA is a physician licensed to practice

  within the State of New York.

                   14.         That Defendant NURSE DOE is a nurse licensed to practice nursing

  within the State of New York.

                   FACTUAL ALLEGATIONS.

                   I5   .   That on or about Septembe r 5 , 2013 in the evening hours Plaintiff



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   presented to the Emergency Department of THE               VA HOSPITAL for treatment   and care.

                   16. At all times mentioned herein, Defendant DR. RAOUF HANNA

   (hereafter referred to as "DR. HANNA") \ryas a physician duly licensed to practice

   medicine in the State of New York.

                   17.   At all times mentioned herein, Defendant DR. HANNA was a

   physician practicing as a specialist in the field     of   Emergency Medicine.

                   18. At all times mentioned herein, Defendant DR. HANNA was

   practicing as a specialist in the field   of   Emergency Medicine at THE VA HOSPITAL

   located in Brooklyn New York.

                   19. At all times mentioned herein, Defendant DR. HANNA was

   an employee   of the defendant UNITED          STATES OF AMERICA, by its agent THE VA

   HOSPITAL.

                   20. At all times mentioned herein, Defendant DR. HANNA held himself

   out as possessing the requisite degree of skill, knowledge and ability of physicians

   similarly specializing in the community wherein he practiced his profession and in the

  rendition of all services in connection with the care and treatment of members of the

  general public, including Plaintiff CHARLES EDWARD ELLIS SR.

                   21. At all times mentioned       herein, Defendant JANE DOE, a fictitious

  name for a nurse currently unidentified by name, who provided nursing care to Plaintiff

  on September 5, 2013 into September 6,2013 at THE VA HOSPITAL, (hereafter

  referred to as "NURSE DOE" or "JANE DOE") was a nurse duly licensed to practice

  nursing in the State of New York.

                   22. At all times mentioned herein, Defendant NURSE DOE was a




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   Nurse assigned to the Emergency Medicine Department of Defendant, at THE VA

   HOSPITAL.

                   23. At all times mentioned herein, Defendant NURSE DOE was

   an employee   of the defendant UNITED     STATES OF AMERICA, at THE VA

   HOSPITAL.

                   24. At all times mentioned herein, Defendant NURSE DOE held

   herself out as possessing the requisite degree of skill, knowledge and ability of nurses in

   the nursing community wherein she practiced her profession and in the rendition of all

   services in connection with the care of members of the general public, including Plaintiff

   CHARLES EDWARD ELLIS SR.

                   25. At all times mentioned herein, Defendant U.S.A. hired other

   physicians nurses and staff who provided medical care and treatment to Plaintiff.

                   26. At all times mentioned herein, defendant UNITED STATES OF

   AMERICA, its agents, servants, and/ or employees, including THE VA HOSPITAL

   operated, maintained, managed, and were in control    of their hospital and medical center
   located at 800 Poly Place, Brooklyn, New York I1209 and held themselves out as duly

   qualified and capable of providing adequate medical care, treatment, procedures, surgery,

   and testing to the public and for such purposes hired doctors, nurses, and other   staft

   including Defendant DR HANNA, Defendant Nurse JANE DOE and other physicians,

   nurses and staff.

                  27 .   That on Thursday September 5, 2013 ELLIS presented to the

   emergency department of THE VA HOSPITAL with complaints of constipation and

   discomfort.




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                   28. That ELLIS was treated and cared for by Defendants DR. HANNA

   and NURSE DOE and other physicans nurses and staff.

                   29. That ELLIS was not given a digital rectal exam to determine     if
   Plaintiff had fecal impactation and the physicians and staff failed to perform   a manual


   evacuation prior to prescribing and administering purgatives.

                       30. That an enema was undertaken and continued despite the Plaintiffls

   obvious signs of pain, distress, and discomfort and Plaintiff advising the Nurse, referred

   to herein as Defendant JANE DOE, who was performing the procedure that the enema

   was painful.

                   31. That during the procedure the tubing was forced into the anus and

   rectum in a negligent and careless manner without proper prophylactic precautions,

   sufficient lubrication and without proper examination and follow up examination.

                   32. That no blood tests were ordered or conducted    despite their indication

  due to thehistory and presenting symptoms.

                   33. That the defendants, their agents, servants and employees never

  evaluated the severity of the constipation or the other presenting symptoms that Plaintiff

  was experiencing.

                   34. That no detailed medical history nor co-morbid problems or     causes

  were evaluated or ruled out by defendants or any other the physicians and staff that

  treated Plaintiff.

                  35. That Plaintiff was known to have a history of chronic renal failure and




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   Non Insulin Dependent Diabetes Mellitus (NIDDM) and no blood tests were ordered to

   verifu the existence or lack of existence of ongoing metabolic and electrolyte

   disequilibrium.

                     36. That   a Fleet enema was conducted in contraindication   for ELLIS

   who was a patient with chronic renal failure, as it can cause kidney injury and

   hyyperphosphatemia, and the Fleet enema was ordered by Defendant DR. HANNA and

   performed by Defendant NURSE DOE.

                     37. That ELLIS was taking prescription Lisinopril (an ACE inhibitor) that

   is known to increase the chances of renal injury when fleet enema is used concurrently.

                     38. That Plaintiff was not referred to a gastroenterologist, nor were

   appropriate discharge instructions given,.and ELLIS was negligently discharged to home

   on or about September 6,2073 from THE VA HOSPITAL.

                     39. That no colonoscopy, colonic transit study with radio-opaque markers

   or wireless motility capsule, anorectal manometry, or balloon expulsion tests were

   considered or ordered, nor was ELLIS informed of the risks and altematives of the

  procedures performed, nor the available altemative treatments available.

                 40. That no evaluation was performed to identify the cause of ELLIS'

  constipation, nor to rule out acute pancreatitis and other causes.

                 41. That the continued insertion of the fleet enema tubing where

  resistance was encountered should have been immediately discontinued by the nursing

  staff, the attending physician should have been notified, and continued treatment options

  should have been reviewed and evaluated.

                 42. That ELLIS was treated by Emergency Medicine physician RAOUF




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   HANNA, M.D. and the Nurse that performed the fleet enema is currently unidentified but

   was a female staff member at the hospital who participated in      Plaintiff s care on that date,

   referred to herein as JANE DOE.

                     43. ThatELLIS returned to THE VA HOSPITAL on Thursday,

   September 12,2013 with continued complaints of bloating, constipation, lack of bowel

   movements for six days and other complaints.

                    44. That after ELLIS was admitred to THE VA HOSPITAL he was not

   examined rectally until September I 5,2013 when an ongoing necrotic abscess was first

   observed and documented by the medical staff.

                    45. That the Defendant, THE VA HOSPITAL, its physicians           , nurses and

   staff assigned to ELLIS from his admission on September 12,2013 through the detection

   of the renal abscess were negligent in failing to take an record a proper history, failing to

   perform a full and proper physical examination, including an examination of the rectum,

   failed to order appropriate laboratory tests, failed to properly and fully diagnose ELLIS,

   failed to provide care and treatment for the developing abscess, and departed from the

   reasonable standards of hospital, medical and nursing care in their handling , care, and

   treatment   of ELLIS resulting in Plaintiff   suffering necrosis to the anus and rectal wall,

  perianal sepsis, and other injuries requiring surgical interventions and the placement of a

  diverting loop colostomy.

                    46.That the Defendants were negligent in failing to timely diagnose

  ELLIS' true condition and in failing to provide appropriate medical care and treatment.




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                     AS AND FOR A FIRST CAUSE OF ACTION FOR

                    MEDICAL MALPRACTICE.

                  47. Plaintiff   repeats and reiterates the preceding paragraphs of the

   Complaint as if fully set forth herein.

                   48. On September 5,2013 and continuing thereafter,           and prior thereto

   Plaintiff CHARLES EDV/ARD ELLIS              SR. came under the care and continuous

   treatment of defendant UNITED STATES OF AMERICA, its employees, agents,

   servants physicians, nurses and staff, including but not limited to Defendants DR.

   HANNA and NURSE DOE.

                  49. Throughout Plaintiff s treatment         and care Plaintiff underwent various

  treatments, procedures, testing, and examinations by staff         of THE VA HOSPITAL in
  their Emergency Department on September 5,2013 into the morning of September                   6,

   2013 and during an admission from September 12,2013 through October 31,2013 while

  admitted as a patient thereat.

                  50. That Defendants UNITED STATES OF AMERICA, DR. HANNA

  and NURSE DOE were negligent, careless, and reckless in their care, treatment, testing,

  and diagnosis of the Plaintiff CHARLES EDWARD ELLIS SR.

                  51. That the above negligence was a departure from the prevailing

  standards of medical and hospital care and treatment existing in the medical and hospital

  communities wherein the acts and omissions occurred.

                  52. That   as a iret and   proximal result   of   the negligence and medical

  malpractice of the defendants UNITED STATES OF AMERICA, DR. HANNA and




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    NURSE DOE, the Plaintiff CHARLES EDWARD ELLIS SR. was caused to sustain

    personal injuries, pain and suffering, loss   of enjoyment of life, and Plaintiff will   continue

    to suffer personal injuries in the future as well    as pain and   suffering, loss of enjoyment   of

    life and to incur medical expenses, and to suffer other injuries and damages.

                    53. The Defendants' acts and/ or omissions         as set forth herein would

    constitute a claim under the law of the State of New York.




                            AS AND FOR A SECOND CAUSE OF ACTION

                            FOR LACK OF INFORMED CONSENT

                    54. Plaintiff repeats and reiterates the preceding paragraphs of the

    Complaint as if fully set forth herein.

                    55. That prior to and during the above described medical and hospital care

    at THE   VA HOSPITAL the Defendants        had a duty to provide Plaintiff with certain

    information concerning the procedures to be performed and the reasonable foreseeable

    risks and benefrts, as well as the alternatives thereto.

                    56. That the Defendants did not obtain the Plaintiffs full       and complete

    informed consent to the medical and hospital care and procedures performed.

                    57. That a reasonably prudent person in the Plaintifls condition would

    not have given consent to the procedures and treatment as performed had they been so

    informed.

                    58. That had Plaintiff been fully informed, Plaintiff would not have given

    consent to the procedures and treatment as performed.

                    59. That   the acts and omissions of the Defendants were direct and




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    proximal factors in causing personal injuries to Plaintiff ELLIS.

                      60. That due to the negligence and medical malpractice of the defendants

    UNITED STATES OF AMERICA, DR. HANNA and NURSE DOE, the Plaintiff

    CHARLES EDWARD ELLIS SR. was caused to sustain personal injuries, pain and

    suffering, loss   of   enjoyment of life, and Plaintiff will continue to suffer personal injuries

    in the future as well as pain and suffering, loss of enjoyment of life and to incur medical

    expenses, and to suffer other injuries and damages.

                      61. The Defendants' acts and/ or omissions      as set forth herein would

    constitute a claim under the law of the State of New York.




                               AS AND FOR A THIRD CAUSE OF ACTION.

                               VICARIOUS LIABILITY, RESPONDEAT SUPERIOR,

                               OSTENSIBLE AGENCY AND/ OR AGENCY.

                      62. Plaintiff repeats and reiterates the preceding paragraphs of the

    Complaint as if fully set forth herein.

                      63. At all relevant times mentioned herein, the directors, officers,

    operators, administrators, employees, agents, and staff were employed by and/or acting

    on behalf of the Defendant U.S.A..

                      64. At all relevant times mentioned herein the directors, offrcers,

    operators, administrators, employees, agents, and staff acted within their respective

    capacities and scopes of employment for the Defendant U.S.A..




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                    65. The directors, officers, operators, administrators, employees, agents,

    and staff negligently and/ or recklessly, directly and proximately caused physical injury

    to Plaintiff ELLIS including both acts of omission and acts of commission.

                   66. That due to the negligence and medical malpractice of the defendant

    UNITED STATES OF AMERICA, the Plaintiff CHARLES EDV/ARD ELLIS SR. was

    caused to sustain personal injuries, pain and suffering, loss   of   enjoyment of life, and

    Plaintiff will continue to suffer personal injuries in the future as well as pain and

    suffering, loss of enjoyment of life and to incur medical expenses, and to suffer other

    injuries and damages.

                   67. The acts and/ or omissions of the Defendant U.S.A.        set forth herein

    would constitute a claim under the law of the State of New York.




           WHEREFORE, Plaintiff CHARLES EDWARD ELLIS SR.                       seeks damages on

    the First, Second and Third Causes of Action, against the Defendants, as follows:

           a) compensatory damages in the an amount of Three        Million Dollars

           ($3,ooo,ooo.oo);

           b) the costs and disbursements of the action; and

           c) attomeys fees.

    Dated: New York, New York
           February 8,2016




                                                           By: John             , Esq




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                                             Tumelty & Spier, LLP
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    UNITED STATES DISTRICT COURT
    EASTERN DISTRICT OF NEW YORK
                                                            X
    CHARLES EDV/ARD ELLIS SR.,

                                           Plaintift
                                                                   CIV INDEX NO.:
                    -against-



                                                                   CERTIFICATE OF
                                                                   MERIT
    UNITED STATES OF AMERICA , RAOUF HANNA,
    M.D., and JANE DOE, a fictitious name for an unidentified
    Female Nurse who cared for Plaintiff on September 5,2013 through
    September 6,2013 at The Veterans Administration
    Hospital in Brooklyn New York,

                                           Defendants.
                                                            X


            John Tumelty, an attomey at law, duly admitted to practice before the courts   of

    the State of New York, hereby affirms the following pursuant to section 2106 of the

    CPLR:

            I have reviewed the facts of this case and have consulted with at least one

    physician who is licensed to practice in this State, or any other State, and I reasonably

    believe that said physician is knowledgeable as to the relevant issues involved in this

    particular action and I have concluded on the basis of such review and consultation that

   there is a reasonable basis for the commencement of this action.


   Dated: New York, New York
          February 8,2016


                                                          John T




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